        Case 20-12289-elf                  Doc 32 Filed 11/14/20 Entered 11/15/20 00:50:02                                             Desc Imaged
                                                 Certificate of Notice Page 1 of 2
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 20-12289-elf
Sandra E. Sherman                                                                                                      Chapter 13
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: Adminstra                                                             Page 1 of 1
Date Rcvd: Nov 12, 2020                                               Form ID: 155                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 14, 2020:
Recip ID                  Recipient Name and Address
db                      + Sandra E. Sherman, 1824 Tolbut Street, Philadelphia, PA 19152-1115

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 14, 2020                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 12, 2020 at the address(es) listed
below:
Name                               Email Address
MICHAEL W. GALLAGHER
                                   on behalf of Debtor Sandra E. Sherman mwglaw@msn.com mwglaw1@verizon.net

United States Trustee
                                   USTPRegion03.PH.ECF@usdoj.gov

WILLIAM C. MILLER, Esq.
                                   on behalf of Trustee WILLIAM C. MILLER Esq. ecfemails@ph13trustee.com, philaecf@gmail.com

WILLIAM C. MILLER, Esq.
                                   ecfemails@ph13trustee.com philaecf@gmail.com

WILLIAM EDWARD CRAIG
                                   on behalf of Creditor Santander Consumer USA Inc. dba Chrysler Capital ecfmail@mortoncraig.com
                                   mhazlett@mortoncraig.com;mortoncraigecf@gmail.com


TOTAL: 5
  Case 20-12289-elf          Doc 32 Filed 11/14/20 Entered 11/15/20 00:50:02                         Desc Imaged
                                   Certificate of Notice Page 2 of 2




                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Sandra E. Sherman
               Debtor(s)                                                   Chapter: 13
                                                                           Bankruptcy No: 20−12289−elf
_____________________________________________________________________________________________
                     ORDER CONFIRMING PLAN UNDER CHAPTER 13
      AND NOW, this 10th day of November 2020 upon consideration of the plan submitted by
the debtor under chapter 13 of title 11 U.S.C. and the standing trustee's report which has been
filed; and it appearing that:


     A. a meeting of creditors upon notice pursuant to 11 U.S.C. 341 (a) and a confirmation
hearing upon notice having been held;
      B. the plan complies with the provisions of 11 U.S.C. 1322 and 1325 and with other
applicable provisions of title 11 U.S.C.;
     C. any fee, charge or amount required under chapter 13 of title 28 or by the plan, to be paid
before confirmation, has been paid;
WHEREFORE, it is ORDERED that the plan is CONFIRMED.
                                                                  Eric L. Frank
                                                                  Judge ,
                                                                  United States Bankruptcy Court
                                                                                                               30 − 11
                                                                                                             Form 155
